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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:03CR384
                              )
          v.                  )
                              )
COURTNEY NELSON,              )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to continue dispositional hearing (Filing No. 87).              The Court

finds the motion should be granted.         Accordingly,

          IT IS ORDERED that the motion is granted; a final

dispositional hearing on the petitions for warrant or summons for

offender under supervision (Filing Nos. 68 and 84) is rescheduled

for:

                Thursday, April 28, 2011, at 11 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

          DATED this 16th day of March, 2011.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
